      Case 4:19-cv-07123-PJH Document 182 Filed 04/24/23 Page 1 of 5



1     Greg D. Andres
      Antonio J. Perez-Marques
2     Craig T. Cagney
        (admitted pro hac vice)
3
      DAVIS POLK & WARDWELL LLP
4     450 Lexington Avenue
      New York, New York 10017
5     Telephone: (212) 450-4000
      Facsimile: (212) 701-5800
6     Email: greg.andres@davispolk.com
               antonio.perez@davispolk.com
7
               craig.cagney@davispolk.com
8
      Micah G. Block (SBN 270712)
9     DAVIS POLK & WARDWELL LLP
      1600 El Camino Real
10    Menlo Park, California 94025
      Telephone: (650) 752-2000
11    Facsimile: (650) 752-2111
12    Email: micah.block@davispolk.com

13   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
14

15                                     UNITED STATES DISTRICT COURT
16
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                                OAKLAND DIVISION
18
       WHATSAPP LLC, and                 )
19     META PLATFORMS INC.,              )                          Case No. 4:19-cv-07123-PJH
20                                       )
                       Plaintiffs,       )                          DECLARATION OF ANTONIO J.
21                                       )                          PEREZ-MARQUES IN SUPPORT OF
              v.                         )                          PLAINTIFFS’ OPPOSITION TO
22                                       )                          MOTION FOR PROTECTIVE ORDER
       NSO GROUP TECHNOLOGIES LIMITED )
23                                                                  Date:     May 25, 2023
       and Q CYBER TECHNOLOGIES LIMITED, )
24                                       )                          Time:     9:00 a.m.
                       Defendants.       )                          Ctrm:     3
25                                       )                          Judge:    Hon. Phyllis J. Hamilton
                                         )
26

27

28


     DECLARATION OF A. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTION FOR PROTECTIVE ORDER
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 182 Filed 04/24/23 Page 2 of 5



1            I, Antonio J. Perez-Marques, declare as follows:

2            1.       I am partner of the law firm of Davis Polk & Wardwell LLP, counsel for Plaintiffs

3    WhatsApp LLC and Meta Platforms Inc. in the above-captioned action, and I am admitted to this

4    court pro hac vice. I submit this declaration in support of Plaintiffs’ opposition to the motion for

5    a protective order filed by Defendants NSO Group Technologies Ltd. and Q Cyber Technologies

6    Ltd. (together, “NSO”). I have personal knowledge of the facts set forth below and, if called as a

7    witness in a court of law, could and would testify competently thereto.

8            2.       On June 2, 2020, Plaintiffs served their first Requests for Production.

9            3.       After the Supreme Court of the United States denied NSO’s petition for writ of

10   certiorari on January 9, 2023, I sent NSO’s counsel a letter asking about the current status of the

11   Israeli Order. On February 1, 2023, NSO’s counsel replied, contending that the Israeli Order re-

12   mains in full effect. Attached hereto as Exhibit A is a true and correct copy of NSO counsel’s

13   letter to me, dated February 1, 2023.

14           4.       The Court held a case management conference on February 16, 2023. During that

15   case management conference, the parties and the Court discussed the Israeli law restrictions raised

16   by NSO, and agreed on the scope of NSO’s motion for protective order. Attached hereto as Ex-

17   hibit B is a true and correct transcript of the February 16, 2023 case management conference.

18           5.       Pursuant to the Court’s February 16, 2023 minute entry, Dkt. No. 165, NSO served

19   amended responses and objections to the Requests on February 28, 2023. Attached hereto as Ex-

20   hibit C is a true and correct copy of NSO’s amended responses and objections to the Requests.

21           6.       On March 13, 2023 and March 16, 2023, Plaintiffs conferred with NSO’s counsel

22   about NSO’s amended responses and objections to the Requests. During those discussions, NSO’s

23   counsel reiterated their position that Israeli law posed a general barrier to discovery. Although

24   NSO’s counsel invited Plaintiffs to narrow certain requests, they confirmed that any narrowing of

25   Plaintiffs’ requests would not resolve the overarching Israeli law issue. Though NSO’s counsel

26   acknowledged that certain third parties located outside of Israel possess documents that are not

27   subject to the Israeli law restrictions, they indicated that such third parties would not be alternative

28   sources for the information sought from NSO. Finally, counsel for NSO signaled that they would

                                                              1
     DECLARATION OF A. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTION FOR PROTECTIVE ORDER
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 182 Filed 04/24/23 Page 3 of 5



1    be willing to seek authorization to produce certain limited information that they believed the Israeli

2    government might not deem sensitive, such as organizational charts and financial information, but

3    that they were unwilling to seek such authorization as to the remainder of Plaintiffs’ requests, to

4    request that the Israeli Order be lifted, or to seek a license to comply with discovery.

5            7.       Attached hereto as Exhibit D is a true and correct copy of a press release titled,

6    “NSO Group Acquired by its Management,” released by NSO Group on February 14, 2019.

7            8.       Attached hereto as Exhibit E is a true and correct copy of an article authored by

8    Joseph Menn and Jack Stubbs titled, “Exclusive: FBI Probes Use of Israeli Firm’s Spyware in

9    Personal and Government Hacks – Sources,” published by Reuters on January 30, 2020.

10           9.       Attached hereto as Exhibit F is a true and correct copy of a press release titled,

11   “Commerce Adds NSO Group and Other Foreign Companies to Entity List for Malicious Cyber

12   Activities,” released by U.S. Department of Commerce on November 3, 2021.

13           10.      Attached hereto as Exhibit G is a true and correct copy of an article authored by

14   Joseph Menn and Joel Schetman titled, “Exclusive: U.S. Lawmakers Call for Sanctions Against

15   Israel’s NSO, Spyware Firms,” published by Reuters on December 15, 2021.

16           11.      Attached hereto as Exhibit H is a true and correct copy of an article authored by

17   Eliza Ronalds-Hannon and Liana Baker titled, “Spyware Firm NSO Discussing Sale to U.S. Fund

18   Integrity,” published by Bloomberg on January 25, 2022.

19           12.      Attached hereto as Exhibit I is a true and correct copy of an article authored by

20   Ronen Bergman and Mark Mazzetti titled, “The Battle for the World’s Most Powerful

21   Cyberweapon,” published by The New York Times on January 28, 2022.

22           13.      Attached hereto as Exhibit J is a true and correct copy of an article authored by

23   Ronan Farrow titled, “How Democracies Spy On Their Citizens,” published by The New Yorker

24   on April 18, 2022.

25           14.      Attached hereto as Exhibit K is a true and correct copy of an article authored by

26   Barak Ravid titled, “Scoop: Israelis Push U.S. to Remove NSO From Blacklist,” published by

27   Axios on June 8, 2022.

28

                                                              2
     DECLARATION OF A. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTION FOR PROTECTIVE ORDER
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 182 Filed 04/24/23 Page 4 of 5



1            15.      Attached hereto as Exhibit L is a true and correct copy of an article authored by

2    Stephanie Kirchgaessner titled, “US Defence Contractor In Talks To Take Over NSO Group’s

3    Hacking Technology,” published by The Guardian on June 14, 2022.

4            16.      Attached hereto as Exhibit M is a true and correct copy of an article authored by

5    Uri Blau titled, “Pegasus Spyware Maker NSO Is Conducting a Lobbying Campaign to Get Off

6    U.S. Blacklist,” published by ProPublica on July 12, 2022.

7            17.      Attached hereto as Exhibit N is a true and correct copy of a Brief for the United

8    States as Amicus Curiae filed in connection with NSO Grp. Techs. Ltd. v. WhatsApp Inc., No. 21-

9    1338 on November 21, 2022.

10           18.      Attached hereto as Exhibit O is a true and correct copy of an article authored by

11   Byron Tau and Dustin Volz titled, “Head of Israeli Cyber Firm NSO Group Reaffirms Company

12   Commitment to Spyware,” published by The Wall Street Journal on January 26, 2023.

13           19.      Attached hereto as Exhibit P is a true and correct copy of an article authored by

14   Sam Sabin titled, “Spyware Company NSO Group Tries to Makes Its Case in Washington,” pub-

15   lished by Axios on January 27, 2023.

16           20.      Attached hereto as Exhibit Q is a true and correct copy of an article authored by

17   Stephanie Kirchgaessner titled, “NSO Group Co-Founder Emerges as New Majority Owner,” pub-

18   lished by The Guardian on March 1, 2023.

19           21.      Attached hereto as Exhibit R is a true and correct copy of Executive Order No.

20   14093, titled “Prohibition on Use by the United States Government of Commercial Spyware that

21   Poses Risks to National Security,” issued by President Joseph R. Biden on March 27, 2023.

22           22.      Attached hereto as Exhibit S is a true and correct copy of NSO’s responses and

23   objections to Plaintiffs’ requests for admission, dated April 17, 2023.

24           23.      Attached hereto as Exhibit T is a true and correct copy of an article authored by

25   Omer Kabir titled, “NSO’s Pegasus Spyware Found New Ways to Hack iPhones,” published by

26   Calcalist on April 18, 2023.

27           24.      Attached hereto as Exhibit U is a true and correct copy of the Westbridge/NSO

28   Group Brochure for Phantom.

                                                              3
     DECLARATION OF A. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTION FOR PROTECTIVE ORDER
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 182 Filed 04/24/23 Page 5 of 5



1            I declare under the penalty of perjury that the foregoing is true and correct.

2            Executed on the 24th day of April, 2023 in New York, New York.

3

4                                                                      /s/ Antonio J. Perez-Marques
                                                                       Antonio J. Perez-Marques
5

6

7

8
9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28

                                                              4
     DECLARATION OF A. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO MOTION FOR PROTECTIVE ORDER
     CASE NO. 4:19-CV-07123-PJH
